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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANE DOE (a fictitious name),                         No. 4:21-CV-01343

            Plaintiff,                                (Chief Judge Brann)

      v.

LOYALSOCK TOWNSHIP SCHOOL
DISTRICT, et al.,

            Defendants.

                                      ORDER

                                   APRIL 13, 2022

     In accordance with the accompanying Memorandum Opinion, IT IS HEREBY

ORDERED that the Defendants’ Motion to Dismiss (Doc. 10) is GRANTED IN PART,

DENIED IN PART:

     1.    The Defendants’ motion to dismiss Counts I (Title IX), III (negligence), IV

           (negligent infliction of emotion distress), VI (negligent failure to rescue),

           VII (negligent failure to warn), and VIII (negligence per se) is DENIED.

     2.    The Defendants’ motion to dismiss Counts II (vicarious liability) and V

           (intentional infliction of emotional distress) is GRANTED WITH

           PREJUDICE.

     3.    Consistent with Federal Rule of Civil Procedure 12, the Defendants are

           directed to file an Answer by May 4, 2022.

                                               BY THE COURT:


                                               s/ Matthew W. Brann
                                               Matthew W. Brann
                                               Chief United States District Judge
